                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MINNESOTA


League of Women Voters of Minnesota                   CASE NO. 20-CV-1205 ECT/TNL
Education Fund and Vivian Latimer
Tanniehill,

       Plaintiffs,

       v.
                                                          STIPULATION REGARDING
Steven Simon, in his official capacity as                  DISCOVERY PROCEDURE
Secretary of State of Minnesota,

       Defendant,

       and

Donald J. Trump for President, Inc.,
Republican National Committee, and
Republican Party of Minnesota,

Intervenor-Defendants.




       WHEREAS, Rule 26(f) of the Federal Rules of Civil Procedure states that the Parties

must develop a proposed discovery plan that states the Parties’ views and proposals on, among

other things, “any issues about disclosure, discovery, or preservation of electronically stored

information, including the form or forms in which it should be produced,” Fed. R. Civ. P.

26(f)(3)(C); and

       WHEREAS, the Parties mutually seek to reduce the time, expense and other burdens of

discovery of certain electronically stored information (“ESI”) and privileged materials, as




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described further below, and to better define the scope of their obligations with respect to

preserving such information and materials; and

          WHEREAS, the Parties therefore are entering into this Stipulation with the request that

the Court enter it as an Order;

          NOW THEREFORE, it is hereby STIPULATED:

                                       I.      DEFINITIONS

          1.     The terms used in this stipulation that are also used in the Federal Rules of Civil

Procedure have the same meaning that they have under the Federal Rules, unless otherwise

provided in this stipulation. Whenever the terms set forth below are used in this stipulation

(hereinafter “Discovery Protocol”), the following definitions apply:

                 (a)    “Draft,” when used to describe either an electronic or hard copy

document, means “a preliminary version of a document that has been shared by the author with

another person (by email, print, or otherwise) or that the author no longer intends to finalize or to

share with another person.”

                 (b)     “Duplicate,” when used to describe either an electronic or hard copy

document, means that the document does not show any facial differences, such as the inclusion

of highlights, underlining, marginalia, total pages, attachments, markings, revisions, or the

inclusion of tracked changes. Differences in system metadata fields, such as date created or

modified, that do not affect the face of the document, are not determinative of whether the

document is a duplicate for purposes of this Discovery Protocol.

                 (c)    “Gigabyte” means one billion bytes or 1,000 megabytes.

                 (d)    “Parties” means the parties to this litigation, including their employees and

agents.




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               (e)     “Policy” means a regular practice at an entity that managers know about

and expect to be carried out.

                                    II.     PRESERVATION

       2.      ESI That Is Not Reasonably Accessible. The following categories of ESI listed

below are not reasonably accessible in this litigation:

               (a)     Data stored in a backup system for the purpose of system recovery or

information restoration, including but not limited to, disaster recovery backup tapes, continuity

of operations systems, and data or system mirrors or shadows, if such data are routinely deleted

or written over in accordance with an established routine system maintenance practice;

               (b)     Voicemail messages;

               (c)     Instant messages, such as messages sent on AOL Instant Messenger,

Microsoft Communicator, Microsoft Teams, or Skype for Business;

               (d)     Text messages, such as cell phone to cell phone SMS messages;

               (e)     Electronic mail sent to or from a personal digital assistant (“PDA”),

smartphone (e.g., BlackBerry, iPhone), or tablet (e.g., iPad) provided that a copy of such email is

routinely saved elsewhere on a device/ in a medium that is accessible;

               (f)     Other electronic data stored on a PDA, smartphone, or tablet, such as

calendar or contact data or notes, provided that a copy of such information is routinely saved

elsewhere on a device/in a medium that is accessible;

               (g)     Logs of calls made from cellular phones;

               (h)     Deleted computer files, whether fragmented or whole (nothing in this

order authorizes the intentional deletion of ESI after the duty arose to preserve such ESI);




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               (i)     Data stored in random access memory (“RAM”), cache memory, or in

temporary or cache files, including internet history, web browser cache and cookie files,

wherever located;

               (j)     Data stored on photocopiers, scanners, and fax machines;

               (k)     Server, system, or network logs; and

               (l)     Electronic data temporarily stored by scientific equipment or attached

devices, provided that the data that is ordinarily preserved as part of a laboratory report is, in

fact, preserved in its ordinary location and form.

       3.      Nothing in this Stipulation prevents any Party from asserting, in accordance with

the Federal Rules of Civil Procedure, that other categories of ESI are not reasonably accessible.

       4.      The Parties need not preserve, for this litigation, the categories of ESI listed in

paragraph 2 unless, on the date that this Discovery Protocol is entered by the Court, either Party

has a Policy that results in the routine preservation of such ESI, in which case such Party shall

continue to preserve such ESI in accordance with its Policy.

       5.      No Discovery of Material Not Required to Be Preserved. The Parties shall not

seek discovery of items that need not be preserved pursuant to paragraphs 2-4 above. If any

discovery request is susceptible of a construction that calls for the production of items that need

not be preserved pursuant to paragraphs 2-4, such items need not be searched for, produced, or

identified on a privilege log pursuant to Fed. R. Civ. P. 26(b)(5).

       6.      Preservation Does Not Affect Discoverability or Claims of Privilege. By

preserving documents or ESI for the purpose of this litigation, the Parties are not conceding that

such material is discoverable, nor are they waiving any claim of privilege.




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        7.      Other Preservation Obligations Not Affected. Nothing in this agreement affects

any obligations of the Parties to preserve documents or information for purposes other than this

litigation, such as pursuant to court order, administrative order, statute, or in response to other

anticipated litigation.

                                        III.      COLLECTION

        8.      Deduplication.

                (a)       Deduplication of e-mail. The Parties may de-duplicate email by:

                          (1)    comparing the MessageID or UNID metadata fields; or

                          (2)    calculating and comparing the MD5 or SHA-1 hash value based on

the following files: to, from, cc, bcc, subject, body, and attachment names.

                (b)       The Parties hereby stipulate and agree that in this matter there is a

rebuttable presumption of evidence that an e-mail correctly addressed to a recipient was actually

delivered to that recipient’s e-mail inbox.

                (c)       Deduplication of ESI other than e-mail. The Parties shall identify, based

on MD5 or SHA-1 hash values, exact duplicates of electronic files other than e-mails that are

larger than zero bytes and smaller than two gigabytes. The Parties shall, to the extent practicable,

produce only one copy for each custodian that has possession or custody of the file.

                                            IV.    REVIEW

        9.      Technology Assisted Review. As of the date of this Stipulation, the Parties do not

intend to use Technology Assisted Review, such as predictive coding. If any Party wishes to use

Technology Assisted Review, it shall notify the other Parties and provide to them a proposed

TAR protocol. The Parties shall then meet and confer in an attempt to negotiate an agreed-upon

protocol. Unless otherwise ordered by the Court, the Parties shall not use TAR except in

conformance with an agreed-upon protocol.


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                                    V.     PRIVILEGE LOG

       10.     Embedded e-mails. An e-mail may be treated as a single document regardless of

the number of embedded emails contained within the message body. The privilege log for an e-

mail withheld under a claim of privilege, to the extent any is required, may identify the author,

recipient(s), subject, dates and times based on the metadata from the top-level message, and is

not required to include metadata from any e-mail embedded in the message body. However, if an

e-mail contains both privileged and non-privileged communications, the non-privileged

communications must be produced. This requirement may be satisfied by producing the original

of the embedded, non-privileged e-mail, but if the original is not available, it may be satisfied by

producing a redacted version of the privileged e-mail.

       11.     The obligation to provide a log of privileged or work product materials pursuant

to Rule 26(b)(5)(A) presumptively does not apply to:

       (a)     Communications exclusively between a party and its trial counsel after May 19,
               2020;

       (b)     Work product created by trial counsel, or by an agent of trial counsel (but not
               including work product created by a party or an employee of a party) after May
               19, 2020; or

       (c)     Internal communications within a law firm or among co-counsel.

                                     VI.     PRODUCTION

       12.     Procedures for Production: The following procedures apply to producing

documents or ESI. Compliance with these procedures constitutes compliance with Federal Rule

of Civil Procedure 34(b)(2)(E) for this matter.

               (a)     TIFF Plus Text Productions. Except as stated otherwise below, ESI being

produced by a Party shall be converted to 300 dpi, single-page, black-and-white (no shades of

gray) TIFF images using CCITT Group IV compression. Each page must be branded with a



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unique Bates number, which must not be an overlay of the image. Unless otherwise agreed by

the Parties, the TIFF images must be produced on optical media, USB hard drive or download

link/file sharing service, accompanied by: (1) an Opticon™ or IPRO® “cross reference file”

which associates each Bates number with its corresponding single-page TIFF image file; and (2)

a “text load file” containing the metadata fields in Appendix A. The text load file must contain

Concordance® delimited text that will populate fields in a searchable flat database environment,

containing one line for each document. Nothing in this stipulation requires a Party to manually

populate a metadata if such fields cannot be extracted from a document.

               (b)     Paper documents:

                       (1)     Documents printed on paper that is larger than 11 x 17 inches may,

at the Producing Party’s discretion, be produced on paper. Documents produced on paper must

be produced as they are kept in the ordinary course of business or must be organized and labeled

to correspond to the categories in the request.

                       (2)     Documents printed on paper that is 11 x 17 inches or smaller must

be scanned and produced on CD-ROM, DVD-ROM, external hard drive, or by FTP download.

The Parties shall confer to determine whether OCR text is appropriate for documents produced

pursuant to this subparagraph, taking into account the nature of the particular documents being

produced. Notwithstanding the foregoing, a Party may always elect to include OCR text with

paper documents produced under this Discovery Protocol.

               (c)     Word, WordPerfect, and PDF files.

                       (1)     For Word, WordPerfect, and PDF files, the text load file must

contain the full extracted text from the document, unless the document has been redacted during

privilege review, in which case the load file may contain OCR text.




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                       (2)       For Word, WordPerfect, and PDF files that contain comments or

tracked changes that are not part of the ordinary text, the TIFF images must be generated based

on how the document appears when first opened using view settings contained in the file. The

receiving party has the option, after reviewing the produced TIFF image, to request the native

file.

               (d)     Microsoft PowerPoint files may, at the Producing Party’s discretion, be

produced natively or processed and produced as full color, half page, JPEG images with one

slide per page. If produced as JPEG images, any presenter notes must appear below each slide.

               (e)     E-mail.

                       (1)       If the producing party redacts any part of an e-mail before

producing it, OCR text may be provided in place of extracted text.

                       (2)       E-mail attachments must be processed as though they were

separate documents, and the text load file must include a field in which the producing Party

identifies, for each e-mail, the Bates range of any attachment;

               (f)     Microsoft Excel files and other spreadsheets must be produced in native

file format in a separate folder on the production media. The text load file must contain a field

that identifies the file path of the native file corresponding to each document, and the Parties

must provide a placeholder TIFF image that shows the name of the native file and has a Bates

number. If necessary, a party is permitted to redact native spreadsheets, in which case the load

file may contain OCR text;

               (g)     Digital photographs must be produced as full color image files at their

original resolution with Bates numbers branded onto them;




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               (h)    Before any Party produces any other kinds of electronic data, including

data from databases, CAD drawings, GIS data, videos, etc., the Parties shall meet and confer to

determine a reasonably useable form for the production.

       13.     The receiving party has the option, after reviewing a black-and-white TIFF image,

to enquire whether the original document contained color and, if so, to request a color image.

       14.     Except as stated above, a Party need not produce the same electronically stored

information in more than one form.

                                VII.   EXPERT DISCOVERY

       15.     Each Party shall not pursue through discovery, trial subpoena or otherwise:

               (a)    Notes taken by a witness required to provide a report under Fed. R. Civ. P.

26(a)(2)(B);

               (b)    Communications between a witness required to provide a report under

Fed. R. Civ. P. 26(a)(2)(B) and a Party’s representative—including, but not limited to, another

witness required to provide a report under Fed. R. Civ. P. 26(a)(2)(B)—regardless of the form of

the communications, except to the extent that the communications:

                      (1)     Relate to compensation for an expert’s study or testimony;

                      (2)     Identify facts or data that a Party provided and that the expert

considered in forming the opinions to be expressed; or

                      (3)     Identify assumptions that a Party provided and that the expert

relied upon in forming the opinions to be expressed; or

               (c)    Information relating to non-testifying witnesses excluded from discovery

pursuant to Fed. R. Civ. P. 26(b)(4)(D).




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                          VIII. MISCELLANEOUS PROVISIONS.

       16.     In order to best protect the confidentiality of information that they may need to

disclose in connection with discovery in this action, the Parties may submit an additional

stipulation and order pursuant to Federal Rule of Evidence 502(d), for entry by the Court.

       17.     Before filing any motion with the Court regarding electronic discovery, privilege,

or evidence, the Parties shall meet and confer in a good faith attempt to resolve such disputes.



                                               Appendix A

       The exchange of select metadata fields significantly enhances the usability and search

characteristics of the production set. Absent an agreement to the contrary, the following metadata

fields and confidential designation information shall be provided in a delimited file for any

production documents:

Bates Beg                               Beginning Production # (all documents)
Bates End                               Ending Production # (all documents)
Bates Beg Attach                        Beginning Attachment # (all documents)
Bates End Attach                        Ending Attachment # (all documents)
Parent ID                               Parent Production # (all documents)
Protective Declaration                  Confidentiality Designation (all documents)
Page Count                              Page Count (all documents)
Custodian                               Custodian (all documents)
Deduplicated Custodians                 Custodians with identical copies of emails or documents based
                                        deduplication methods described in paragraph 8.
Author                                  Author (electronic documents)
Date Last Modified                      Last Modified Date (electronic documents)
Date Received                           Received Date (email documents)
Date Sent                               Sent Date (email documents)
Doc Extension                           File Extension (email and electronic documents)
Email Subject                           Email Subject (email documents)
Filename                                Filename (electronic documents)
File size                               File size (email and electronic documents)
MD5 Hash                                MD5 Hash Value (email and electronic documents)
Email BCC                               BCC (email documents)
Email CC                                CC (email documents)
Email From                              From (email documents)
Email To                                To (email documents)


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Time Received             Received Time (email documents)
Time Sent                 Sent Time (email documents)
Title                     Title (electronic documents)
Native Path               Native File Path (email and electronic documents)
Text Path                 Text File Path (all documents)


STIPULATED, AGREED AND CONSENTED TO BY:

DATED: August 14, 2020           Respectfully submitted,

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